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                                           ORDERED.
         Dated: March 16, 2020




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION
                                    www.flmb.uscourts.gov
In re:

Lilly J. Real,                                               Chapter 7

                                                             Case No.: 3:16-bk-3913-JAF
          Debtor.
                                       /

                                      ORDER ON REMAND

          This case came before the Court upon an Order entered by the United States District Court

(the “District Court”) on September 9, 2019. This matter originated in this Court when the Debtor

filed a Motion for Sanctions [for Violation of the Discharge Injunction] against Creditor, Frank

Polo on September 22, 2017. On November 3, 2017, Mr. Polo filed a Motion to Dismiss the

Motion for Sanctions. On January 8, 2018, the Court conducted a trial on the Motion to Dismiss

and the Motion for Sanctions.

          On April 27, 2018, the Court entered an Order Denying Motion to Dismiss, Granting

Motion for Sanctions, Awarding Attorney’s Fees, and Enjoining Frank Polo from Any Further

Attempt to Collect Alleged Pre-Petition Debt from Debtor (the “Sanctions Order”). On April 30,

2018, the Court entered Findings of Fact and Conclusions of Law. Therein the Court found the

following. The Debtor served as a guardian ad-litem in a custody proceeding between Mr. Polo
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and the mother of his twin children. After the conclusion of the Debtor’s service in the custody

proceeding, she filed a bankruptcy petition. She did not list Mr. Polo on her bankruptcy schedules

because she did not consider him to be a creditor. Creditors in the bankruptcy case were instructed

not to file a proof of claim because there were no assets available to pay creditors.

       Approximately two months after the Debtor filed her bankruptcy petition, Mr. Polo sent

the Debtor an email asking if the email address was a valid address to serve her with documents.

In response, the Debtor indicated the email address was valid and also informed Mr. Polo that she

was “in the middle of a bankruptcy proceeding.” As a result of the Debtor’s email to Mr. Polo, he

had actual knowledge of the Debtor’s bankruptcy case on that day.

       Forty-one days later, on the date of the deadline for creditors to file a complaint objecting

to the Debtor’s discharge or to determine the dischargeability of a debt, Mr. Polo filed a complaint

against the Debtor in state court alleging that the Debtor’s actions and testimony in the custody

proceeding resulted in him not receiving the time sharing he had expected. Mr. Polo sought

compensatory damages, punitive damages, and attorney’s fees. Mr. Polo did not file an adversary

proceeding to determine the dischargeability of the Debtor’s alleged debt to him. Two days later

the Court entered a discharge in the Debtor’s bankruptcy case.

       After the Debtor became aware of the state court action, she filed an amendment to her

bankruptcy schedules adding Mr. Polo as a creditor in her bankruptcy case. She also filed a

suggestion of bankruptcy in the state court action and served Mr. Polo with a copy of the suggestion

of bankruptcy. As a result, the state court placed the state court action into inactive status.

Thereafter, Mr. Polo filed a Notice of Intent Not to Prosecute in the state court action, wherein he

acknowledged that the automatic stay extended to the Debtor and that he could not seek discovery

from the Debtor until he obtained relief from the automatic stay.



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       Three weeks later, Mr. Polo filed a motion for leave to amend the complaint in the state

court action. On that same day the Debtor’s bankruptcy attorney emailed Mr. Polo and informed

him that the Debtor had received a discharge in her bankruptcy case. The email also reminded Mr.

Polo that he had actual knowledge of the bankruptcy because a suggestion of bankruptcy was filed

in the state court action. The email further stated: “I recently received a copy of the proposed

amended complaint that would include [the Debtor] as a defendant. This action is in violation of

her bankruptcy discharge. Please take this email as your warning that I will advi[s]e [the Debtor]

to seek sanctions against you in the bankruptcy court if you proceed against [her] in the [state court

action].”

       Approximately five weeks after Mr. Polo received the email from the Debtor’s bankruptcy

attorney, he filed a motion in the state court action by which he sought to have the state court

determine that the Debtor’s alleged debt to him was not discharged by her bankruptcy filing and

to reinstate his right to continue prosecuting the state court action against the Debtor. Thereafter,

the Debtor filed the Motion for Sanctions. The Debtor sought attorney’s fees representing the time

her attorney spent between September 2017 and February 2018 prosecuting the Motion for

Sanctions.

       The Court denied Mr. Polo’s Motion to Dismiss the Motion for Sanctions, finding that it

had personal jurisdiction over Mr. Polo. The Court also found that, although the state court had

concurrent jurisdiction to determine whether the Debtor’s alleged debt to Mr. Polo was excepted

from her discharge, such concurrent jurisdiction did not deprive the Court of jurisdiction. The

Court found that the Debtor’s alleged debt to Mr. Polo, resulting from her conduct in the custody

proceeding, was discharged by the entry of her discharge.




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       At the time the Court entered the Findings of Fact and Conclusions of Law and the

Sanctions Order, a creditor was liable for contempt and therefore subject to sanctions for a

violation of the discharge injunction if it knew that the discharge injunction was invoked and

intended the actions, which violated the discharge injunction. See Hardy v. United States (In re

Hardy), 97 F.3d 1384, 1388-89 (11th Cir. 1996). The Court found that the imposition of sanctions

against Mr. Polo was warranted for the following reasons. First, despite being warned by the

Debtor’s bankruptcy attorney that he would advise the Debtor to seek sanctions against Mr. Polo

for a violation of the discharge injunction if he proceeded in the state court action against the

Debtor, Mr. Polo nonetheless did so.        Second, the case law indisputably provides that an

unscheduled creditor in a no asset Chapter 7 bankruptcy case is never prevented from timely filing

a proof of claim, and therefore the Debtor’s alleged debt to Mr. Polo was not excepted from her

discharge under § 523(a)(3)(A). Finally, the Debtor’s alleged debt to Mr. Polo was not “of a kind

specified” in § 523(a)(2), (a)(4), or (a)(6), and, even if it was, Mr. Polo received actual notice of

the case in time to file a complaint to determine the dischargeability of the Debtor’s alleged debt

to him. As a result, the Debtor’s alleged debt to Mr. Polo was not excepted from her discharge

under § 523(a)(3)(B). The Court imposed sanctions against Mr. Polo in the amount of $4,935.00.

Mr. Polo appealed the Sanctions Order to the District Court.

       While the appeal was pending, the United States Supreme Court rejected the standard set

forth in Hardy, noting that such a standard would “authorize civil contempt sanctions for a

violation of a discharge order regardless of the creditor’s subjective beliefs about the scope of the

discharge order, and regardless of whether there was a reasonable basis for concluding that the

creditor’s conduct did not violate the order.” Taggart v. Lorenzen, 139 S.Ct. 1795, 1801 (2019).

The Court held that a creditor may be held in civil contempt for violating the discharge injunction



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if “there is no fair ground of doubt as to whether the order barred the creditor’s conduct. In other

words, civil contempt may be appropriate if there is no objectively reasonable basis for concluding

that the creditor’s conduct might be lawful.” Id. at 1799.

       On September 9, 2019, the District Court entered its order on the appeal of the Sanctions

Order. Therein it affirmed the Sanctions Order in all respects except for this Court’s determination

that Mr. Polo’s actions in the state court action justified the imposition of sanctions. The District

Court vacated the portion of the Sanctions Order which imposed sanctions against Mr. Polo and

remanded the case to this Court for the limited purpose of determining whether sanctions are

warranted under the “no fair ground of doubt” standard set forth in Taggart. For the same reasons

that this Court found that sanctions were warranted under the Hardy standard, the Court finds that

sanctions are warranted under the “no fair ground of doubt” standard. There was no objectively

reasonable basis for Mr. Polo to conclude that the Debtor’s alleged debt to him was excepted from

her discharge and therefore no objectively reasonable basis for him to conclude that his attempts

to collect such a debt might be lawful. Upon the foregoing, it is

       ORDERED:

       1. The Motion for Sanctions filed by the Debtor is granted.

       2. The Court imposes sanctions against Frank Polo in the amount of $4,935.00.

       3. Mr. Polo shall pay $4,935.00 to Edward Jackson, Esquire within 60 days of the date

           of this Order, failing which the Court, upon affidavit and Motion of Mr. Jackson, will

           enter a judgment in Mr. Jackson’s favor. Such judgment shall be enforced through

           the state courts.



Clerk’s Office to Serve.



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